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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

 CIERRA TURNER, on Behalf of Herself
 and All Other Similarly Situated                         Case No. 4:22-cv-00085
 Individuals,

         Plaintiff(s),
                                                            STIP UL A TIO N TO SE T A SID E
 v.                                                         D E FA UL T

 PRETTY WOMEN, INC. d/b/a BEACH
 GIRLS, J.P. PARKING, INC., JAMES
 PETRY, Individually, AND KENT
 O’CONNELL, Individually,

         Defendants.


       P laintiff C ierraTu rner(“P laintiff”
                                            )and D efend ants P retty W omen,Inc.,J
                                                                                  .P .P arking,Inc.,

J
ames P etry,and Kent O ’C onnell(“D efend ants”
                                              ) (collectively “the P arties”
                                                                           ),throu gh their

u nd ersigned cou nsel,have entered the followingstipu lation.

       W H E RE A S,on A u gu st1,20 22,an entry of d efau ltwas entered by the C lerkof C ou rtfor

the United States D istrictC ou rtforthe Sou thern D istrictof Iowa(D kt.17 );

       W H E RE A S,W illiam B reed love of B reed love L egal,L L C has appeared as cou nselof

record forthe D efend ants P rettyW omen,Inc.,J
                                              .P .P arking,Inc.,J
                                                                ames P etry,and KentO ’C onnell

(“D efend ants”
              )in the above titled action (see D kt.13);

       W H E RE A S,M r.B reed love requ ested and P laintiff’s cou nselgraciou sly consented to

release D efend ants from the entry of d efau lt;

       W H E RE A S,the P arties agree and stipu late thatD efend ants’“A pplication to Stay P end ing

A rbitration”(D kt.15)shou ld be withd rawn withou tpreju d ice orwaiverof any rights pend ingthe




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C ou rt’s resolu tion of P laintiff’s M otion forN otice to be Issu ed to Similarly Situ ated Ind ivid u als

P u rsu antto 29 U.
                  S.C .§ 216(b)(D kt.12);

        W H E RE A S,the P arties stipu late that D efend ants’ d ead line to su bmit an answer or

responsive plead ing to the above-captioned matterby no laterthan fou rteen (14)d ays afterthe

C ou rtgrants this Stipu lation;

        W H E RE A S,the P arties have conferred and consentto transform P laintiff’s Unopposed

P roposed Sched u lingO rd erand D iscovery P lan (D kt.11)into aJ
                                                                 ointP roposed Sched u lingO rd er

and D iscovery P lan;

        N O W TH E RE FO RE ,the P arties by theirrespective attorneys d o stipu late to the above and

respectfu lly requ estthe C ou rtconsentby ex ecu tingthis Stipu lation.



A GRE E D TO B Y TH E FO L L O W IN G:

 D A TE :A u gu st5,20 22                              D A TE :A u gu st5,20 22

 /s/ William M. Hogg                                   /s/ William L. Breedlove (withpermission)
 D avid W .H od ges (Pro Hac Vice)                     W illiam L .B reed love
 W illiam M .H ogg(Pro Hac Vice)                       B RE E D L O V E L E GA L ,L L C
 H O D GE S & FO TY ,L L P                             210 3 Six teenthStreet
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 H ou ston,Tex as 7 7 0 0 6                            Tel:(30 9)517 -0 7 0 4;Fax :(30 9)517 -0 67 8
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 Attorneys for Plaintiff, Class, and Collective
 Members



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                                       [PROPOSED] ORDER

Upon review of the P arties’stipu lation and requ estforrelief,the C ou rtGRA N TS the requ estand

O RD E RS as follows:

         Said D efend ants are released from the entry of d efau lt.

         D efend ants’“A pplication forStay P end ingA rbitration”(D kt.15)shallbe withd rawn from

consid eration withou twaiverof any of D efend ants’rights norpreju d ice to D efend ants re-filing

the motion atalatertime.

         D efend ants shallfile an answerorresponsive plead ingto P laintiff’s C omplaintby no later

than fou rteen (14)d ays from the entry of this O rd er.

         The C ou rtshallconstru e P laintiff’s Unopposed P roposed Sched u lingO rd erand D iscovery

P lan (D kt.11)as aJ
                   ointP roposed Sched u lingO rd erand D iscovery P lan.

         IT IS SO O RD E RE D .



D ate:                  ,20 22
                                                J
                                                UD GE P RE SID IN G




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